     Case 1:16-cv-00720-CL       Document 235    Filed 02/15/18   Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON

                                 MEDFORD DIVISION

 FEDERAL TRADE COMMISSION,
                   Plaintiff,                    ORDER ESTABLISHING
                                                COURT TRIAL DATES AND
      v.                                           PROCEDURES

 ADEPT MANAGEMENT, ET AL.,                      Case No. 1: 16-CV-00720-CL


                   Defendant.


 CLARKE, Magistrate Judge.
      I.     A 5-week Court trial will commence on October 29. 2018, at
 9:00 a.m. 1 Counsel will be available at 8:00 a.m.
      II.    A in-person pretrial conference will be held on October 22,
 2018, at 10:00 a.m.
      III.   The following pretrial documents, separately submitted and
 captioned, are due as indicated below. Unless otherwise indicated, the
 documents shall be filed electronically in accordance with Local Rule 100.
 Opposing counsel should receive their copies by that date as well.
      This order is separate from requirements set forth in the Federal
 Rules of Civil Procedure.      Parties are required to submit appropriate filings
 and disclosures as outlined therein, such as the witness disclosure rules



   The parties have executed written consents to entry of final
judgment by a magistrate judge (#63).  28 U.S.C. § 636(c).
     Case 1:16-cv-00720-CL    Document 235    Filed 02/15/18   Page 2 of 7



found in Rule 26.

      The parties shall comply with federal statutes and procedural rules

restricting publication of certain personal data in documents publicly filed

with the Court. Social Security, taxpayer identification, and financial

account numbers must be redacted entirely or else restricted to the last

four digits. Minor children ordinarily will be referred to by initials, with

dates of birth limited to the year. The parties should avoid eliciting such

information during testimony or other public court proceedings. If

circumstances necessitate referring to personal data, the parties shall

advise the Court beforehand.

      A.      PRETRIAL DOCUMENTS DUE ON September 28, 2018

      A. l.   EXHIBITS AND EXHIBIT LIST. The parties are to exchange all

trial exhibits. All exhibits must be marked with a color-coded exhibit

sticker (yellow for plaintiff, blue for defendant) in the lower right hand

corner of the exhibit; the number of the exhibit and the case number shall

appear on each exhibit sticker. Plaintiff's exhibits shall be numbered

starting with "l". Defendants' exhibits shall be numbered starting with

"101," with defendants' counsel agreeing on either joint exhibits or on

separate numbering for each defendant's exhibits, e.g., starting with 201,

301, etc. Multiple page exhibits must be marked with a sticker containing

the exhibit number and the page number on each page, e.g.,

101-1, 101-2, etc. If an exhibit is later replaced by a revised version, the

replacement exhibit shall be denoted with a letter suffix, e.g., exhibit lOlA


2 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
     Case 1:16-cv-00720-CL    Document 235       Filed 02/15/18   Page 3 of 7




would replace 101.

      Each party shall furnish the Clerk's Office (not file) in Medford with

the original marked exhibits in a three-ring binder separated by numbered

tabs, plus a duplicate binder for the Court.

      Each party shall file a list of its proposed exhibits, in numerical

order, with a short identifying description (e.g., "letter from Smith to

Jones, dated Jan. 1, 2000").

      A.2.   WITNESS LIST AND WITNESS STATEMENTS. Each party shall

file a list of its witnesses. In separate witness statements, include a

summary of the testimony for each witness. Do not give just the subject,

give the substance. For example, do not state, "The witness will testify

about the accident." State, "The witness will testify that the defendant ran

the red light and was going an estimated 30 miles per hour." Include an

estimate of the time for each witness.

      A.3.   EXPERT WITNESS LIST AND EXPERT WITNESS STATEMENTS.

Each party shall file a list of its expert witnesses. In separate expert

witness statements, include qualifications, any opinions to be expressed,

the facts and data upon which the opinions are based, any exhibits to be

used by the witness, a list of all publications authored by the expert in the

past 10 years, the compensation to be paid for the study and testimony,

and a list of any other cases in which the witness testified as an expert in

deposition or at trial in the last four years.

      A.4.   PURGED DEPOSITIONS. If a party intends to offer deposition

3 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
    Case 1:16-cv-00720-CL     Document 235    Filed 02/15/18   Page 4 of 7




testimony as substantive (not impeachment) evidence, the party shall file

the deposition testimony. The offering party must underline the portions

to be read to the jury. Plaintiff should underline its proposed testimony in

red, Defendants should underline their proposed testimony in blue.

      A.5.   STIPULATED FACTS. Plaintiff shall serve Defendants with a list

of proposed stipulated facts.

      A.6.   TRIAL BRIEF. Each party shall file a trial brief. The trial brief

must include a discussion of all the elements of all claims and defenses the

parties are proceeding with at trial, supported by citations to authority.

      B.     PRETRIAL DOCUMENTS DUE ON October 5, 2018

      B.1.   OBJECTIONS. Each party must file any objections to

exhibits, witnesses, expert witnesses, and marked deposition testimony.

Each party shall also file any additional deposition testimony the opposing

party contends should be read to the jury. Failure to file written

objections by this date may result in waiver of the objections.

      B.2.   MOTIONS IN LIMINE. Each party shall file any motions in

limine. Failure to file motions in limine by this date may result in

waiver of the motions.

      B.3.   STIPULATED FACTS. Defendants shall serve their responses

on plaintiff, including any additional proposed stipulated facts. The parties

shall then confer to arrive at a joint statement of stipulated facts. Do not

refuse to agree to a fact based on relevance. Instead, each party should

indicate which facts it believes are true but not relevant (one asterisk next

4 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
     Case 1:16-cv-00720-CL   Document 235       Filed 02/15/18   Page 5 of 7




to the proposed fact for Plaintiff, and two asterisks for Defendants).         If, by

the end of trial, the Court finds that a party unreasonably refused to agree

to a fact, the Court may award sanctions in favor of the party required to

prove the fact at trial.

      C.     PRETRIAL DOCUMENTS DUE ON October 12, 2018

      C.1.   RESPONSES TO OBJECTIONS AND RESPONSES TO MOTIONS

IN LIMINE. Each party shall file responses to objections to exhibits;

responses to objections to witnesses; responses to objections to expert

witnesses; responses to objections to marked deposition testimony, or

additional testimony; and responses to motions in limine. Failure to file

written responses to the objections or written responses to the

motions in limine by this date may result in an order granting the

unopposed objections or motions in limine.

      C.2.   ITEMIZED LIST OF SPECIAL DAMAGES. Each party shall file an

itemized list of special damages, if any.

      C.3.   JOINT STATEMENT OF STIPULATED FACTS. The parties' joint

statement of stipulated facts shall be filed.

      C.4.   IMPEACHMENT EXHIBITS. All impeachment exhibits shall be

marked and numbered in sequence, and sealed in an envelope labeled

"Impeachment Exhibits." Sealed envelopes shall be left with the Clerk's

Office for delivery only to the Judge's chambers. However, unless they

are true impeachment exhibits, they will not be admitted at trial unless

previously disclosed. When in doubt, an exhibit should be listed and

5 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
     Case 1:16-cv-00720-CL   Document 235      Filed 02/15/18   Page 6 of 7




disclosed.

      IV.    Failure to file the required trial documents by the due dates

could result in appropriate sanctions. The parties may not stipulate to any

extensions of these deadlines.

      V.     The courtroom is equipped with an evidence presentation

system. You are encouraged to use this equipment during trial.

Arrangements may be made for the use of the equipment by contacting

the Clerk at 541-608-8777, at least one week in advance of trial.

The Clerk will arrange to demonstrate the equipment, but you must make

arrangements for this prior to trial.

      VI.    At the pretrial conference, the parties shall be prepared to

discuss:

      a) eliminating or shortening testimony or exhibits;

      b) counsel's estimate of the trial time;

      c) whether the parties are pursuing all claims and defenses set forth

in the pleadings or pretrial order;

      d) objections to exhibits, if any;

      e) objections to deposition testimony, if any;

      f) motions in limine, if any;

      g) stipulated facts;

      h) whether counsel foresee any special problems with witness

testimony;

      i) any anticipated evidentiary issues;

6 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
    Case 1:16-cv-00720-CL   Document 235   Filed 02/15/18   Page 7 of 7




     j) settlement; and

     k) trial procedures, such as the use of any telephonic or video

depositions; the use of the evidence presentation system in the

courtroom; the use of the VCR or a DVD player; the use of the lectern;

and any general questions about trial procedures.

     VII.   Except for good cause shown, no exhibits or testimony will

be received in evidence at trial unless presented in accordance

with this Order.

     IT IS SO ORDERED.

     DATED this




7 - ORDER ESTABLISHING TRIAL DATES AND PROCEDURES
